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 1   DANIEL G. BOGDEN
     United States Attorney
 2   KIMBERLY M. FRAYN
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 5

 6                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 7

 8   UNITED STATES OF AMERICA,                            )   2:12-cr-00268-JAD-CWH
                                                          )
 9              Plaintiff,                                )
                                                          )
10              v.                                        )   STIPULATION FOR PROTECTIVE
                                                          )   ORDER
11   YOUNG HIE CHOI,                                      )
     a.k.a. Lianyu Li,                                    )
12                                                        )
     PAUL CHOI,
     a.k.a. Chunai Li, and                                )
13                                                        )
     IN SEON SEONG,                                       )
14   a.k.a. Hong Shan Jin                                 )
                                                          )
15            Defendants.                                 )
     ______________________________________               )
16

17          IT IS HEREBY STIPULATED AND AGREED between the parties, Daniel G. Bogden,

18   United States Attorney for the District of Nevada, and Kimberly M. Frayn, Assistant United

19   States Attorney, counsel for the United States, Kathleen Bliss, Esq. and Paul Padda, Esq.,

20   counsel for defendant YOUNG HIE CHOI, Chris Rasmussen, Esq., counsel for defendant

21   counsel for defendant PAUL CHOI, Assistant Federal Public Defender Raquel Lazo, counsel

22   for defendant IN SEON SEONG, that this Court issue an Order protecting from disclosure to the

23   public any discovery documents containing the personal identifying information such as social

     security numbers, drivers’ license numbers, dates of birth, or addresses, of participants, witnesses


                                                      1
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 1   and victims in this case.      Such documents shall be referred to hereinafter as “Protected

 2   Documents.” The parties state as follows:

 3          1.      Protected Documents which will be used by the government in its case in chief

 4   include personal identifiers, including social security numbers, drivers’ license numbers, dates of

 5   birth, and addresses, of participants, witnesses, and victims in this case.

 6          2.      Discovery in this case is estimated to be more than thirteen thousand pages in

 7   length. Given the nature of the allegations and the facts and circumstances surrounding the

 8   crimes with which the defendants are charged, that is, that the defendants assumed identities of

 9   persons other than themselves, and obtained identity documents bearing the defendants’

10   photograph in the victims’ names and personal identifiers, many of the documents in the

11   discovery necessarily include personal identifiers.        Redacting the personal identifiers of

12   participants, witnesses, and victims would prevent the timely disclosure of discovery to

13   defendant.

14          3.      The United States agrees to provide Protected Documents without redacting the

15   personal identifiers of participants, witnesses, and victims.

16          4.      Access to Protected Documents will be restricted to persons authorized by the

17   Court, namely defendants, attorneys of record and attorneys’ paralegals, investigators, experts,

18   and secretaries employed by the attorneys of record and performing on behalf of defendant.

19          5.      The following restrictions will be placed on defendant, defendants’ attorneys and

20   the above-designated individuals unless and until further ordered by the Court. Defendants,

21   defendants’ attorneys and the above-designated individuals shall not:

22          a.      make copies for, or allow copies of any kind to be made by any other person of

23   Protected Documents;




                                                       2
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 1           b.      allow any other person to read Protected Documents; and

 2           c.      use Protected Documents for any other purpose other than preparing to defend

 3   against the charges in the Indictment or any further superseding indictment arising out of this

 4   case.

 5           6.      Defendants’ attorneys shall inform any person to whom disclosure may be made

 6   pursuant to this order of the existence and terms of this Court’s order.

 7           7.      The requested restrictions shall not restrict the use or introduction as evidence of

 8   discovery documents containing personal identifying information such as social security

 9   numbers, drivers’ license numbers, dates of birth, and addresses during the trial of this matter.

10           8.      Upon conclusion of this action, defendants’ attorneys shall return to government

11   counsel or destroy and certify to government counsel the destruction of all discovery documents

12   containing personal identifying information such as social security numbers, drivers’ license

13   numbers, dates of birth, and addresses within a reasonable time, not to exceed thirty days after

14   the last appeal is final.

15           DANIEL G. BOGDEN
             United States Attorney
16

17           /s/Kimberly M. Frayn                                         December 31, 2015
             KIMBERLY M. FRAYN                                            DATE
18           Assistant United States Attorney

19           /s/Kathleen Bliss, Esq.                                      December 31, 2015
             KATHLEEN BLISS, ESQ.                                         DATE
20           Counsel for defendant Young Choi

21           /s/Paul Padda, Esq.                                          December 30, 2015
             PAUL PADDA, ESQ.                                             DATE
22           Counsel for defendant Young Choi

23




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 1     /s/Chris Rasmussen, Esq.                              December 31, 2015
       CHRIS RASMUSSEN, ESQ.                                 DATE
 2     Counsel for defendant Paul Choi

 3
       /s/Raquel Lazo                                        December 31, 2015
 4     RAQUEL LAZO                                           DATE
       Assistant Federal Public Defender
 5     Counsel for defendant In Seon Seong

 6
                                             ORDER
 7
       IT IS SO ORDERED .this ________ day of __________________ 2016.
 8

 9     _____________________________________________________
       UNITED  STATES
       United States   DISTRICT/MAGISTRATE
                     Magistrate Judge         COURT JUDGE
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        DATED: January 4, 2016
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